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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                             AUGUSTA DIVISION

COURTNEY WHITE,
                                             CASE NO.: 1:17-cv-00160-JRH-BKE
               Plaintiff,
v.

ENHANCED RECOVERY
COMPANY, LLC,

          Defendant.
___________________________/

     DEFENDANT, ENHANCED RECOVERY COMPANY, LLC’S ANSWER AND
                      AFFIRMATIVE DEFENSES

       Defendant Enhanced Recovery Company, LLC (ERC or “Defendant”), by and through its

undersigned counsel, hereby files its Answer and Affirmative Defenses to the Plaintiff’s

Statement of Claim filed by Plaintiff, Courtney White (“Plaintiff”).

       1.      ERC denies that it is located at 8014 Bayberry Road, Richmond County, Georgia.

       2.      ERC denies that it is indebted to Plaintiff in the amount of $8,000.

       3.      ERC denies that it violated the TCPA.

       4.      ERC denies that it called Plaintiff without consent.

       5.      ERC denies using automated dialing technology to place telephone calls to

Plaintiff’ telephone number.

       6.      ERC admits that it placed calls to the telephone number 404-716-0708.

       7.      ERC admits that 800-875-5164 is a telephone number in use by it and that it

placed telephone calls from that number to the telephone number alleged to be that of Plaintiff.




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                                       GENERAL DENIAL

        8.      ERC denies all allegations of the Complaint not specifically admitted herein.

                                   AFFIRMATIVE DEFENSES

                                     First Affirmative Defense

        Plaintiff’s claims against ERC must be dismissed because Plaintiff has failed to state a

claim upon which relief may be granted.

                                    Second Affirmative Defense

        To the extent Plaintiff seeks actual damages, Plaintiff’s claim against ERC for actual

damages must be dismissed because Plaintiff has not alleged any facts showing an entitlement to

such damages.

                                    Third Affirmative Defense

        To the extent Plaintiff seeks actual damages, Plaintiff’s claims against ERC for actual

damages are barred to the extent Plaintiff failed to take action to mitigate such damages.

                                    Fourth Affirmative Defense

        Plaintiff’s claims against ERC under the TCPA must be dismissed to the extent that ERC

had Plaintiff’s consent to place any of the calls at issue in this matter.

                                      PRAYER FOR RELIEF

        WHEREFORE, Defendant respectfully requests that the Court enter judgment against

Plaintiff and in favor of Defendant in connection with all claims for relief in the Complaint,

award Defendant its reasonable attorneys’ fees and costs, and for such other and further relief as

the Court deems just and equitable.




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                                            SMITH, GAMBRELL & RUSSELL, LLP

                                            /s/ Stephen O’Day
Suite 3100, Promenade                       Stephen O’ Day
1230 Peachtree Street, N.E.                 Georgia Bar No. 549337
Atlanta, Georgia 30309                      soday@sgrlaw.com
Tel: (404) 815-3500
Fax: (404) 685-6815

                                CERTIFICATE OF SERVICE

       I certify that on December 4, 2017, I electronically filed the foregoing with the Clerk of

Court by using the CM/ECF system and have served a true and correct copy on the person below

via electronic mail and First Class Mail:

                                        Pro Se Plaintiff:
                                        Courtney White
                                         2158 B Street
                                     Augusta, GA 30904
                                  Email: whitec21@gmail.com


Smith, Gambrell & Russell, LLP              /s/ Stephen O’ Day
Suite 3100, Promenade                       Stephen O’ Day
1230 Peachtree Street, N.E.                 Georgia Bar No. 549337
Atlanta, Georgia 30309                      soday@sgrlaw.com
Tel: (404) 815-3500
Fax: (404) 685-6815




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